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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO

  DAVID ULERY, individually                   )
  and on behalf of all others                 )
  similarly situated,                         )        Case No. 20-cv-02354-WJM-KMT
                                              )
                Plaintiff,                    )
                                              )        Judge: William J. Martinez
                                              )
         v.                                   )        Magistrate Judge: Kathleen M. Tafoya
                                              )
                                              )
  AT&T MOBILITY SERVICES, LLC                 )
                                              )
                Defendant.                    )

      Defendant’s Unopposed Motion To Stay Pending The Supreme Court’s Decision In
                                  Facebook v. Duguid

         1.     AT&T Mobility Services, LLC (“AT&T”) respectfully requests that this case be

  stayed pending the Supreme Court’s decision in Facebook, Inc. v. Duguid, Case No. 19-511.

  Plaintiff does not oppose this relief in lieu of AT&T’s filing of a Rule 12(b)(6) motion at this

  time, which was agreed to during the parties’ meet and confer regarding any potential Rule 12

  motion required by the Court’s standing order.

         2.     AT&T previously filed a motion to dismiss all of Plaintiff’s claims. (Dkt. No. 25).

  In that motion, AT&T argued that Plaintiff failed to allege the use of an “automatic telephone

  dialing system” (“ATDS”) as required to state a claim under the Telephone Consumer Protection

  Act (“TCPA”) because the complaint alleged that Plaintiff received texts because he was on a list

  of AT&T employees maintained by AT&T.

         3.     As described in that motion, the question of whether equipment that only has the

  capacity to dial from a list can be an ATDS has split the circuits. Compare Gadelhak v. AT&T



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  Services, Inc., 950 F.3d 458 (7th Cir. 2020); Glasser v. Hilton Grand Vacations Company, 948

  F.3d 1301 (11th Cir. 2020); Dominguez v. Yahoo Inc.!, 894 F.3d 116, 199 (3rd Cir. 2018) with

  Marks v. Crunch San Diego, 904 F.3d 1041 (9th Cir. 2018); Duran v. La Boom Disco Inc., 955

  F.3d 279 (2nd Cir. 2020); Allan v. Pennsylvania Higher Education Assistance Agency, 968 F.3d

  567 (6th Cir. 2020).

           4.    The Tenth Circuit is yet to rule on the issue.

           5.    The Supreme Court granted certiorari in the Facebook case to resolve this circuit

  split. Oral argument in the case is scheduled for next week, with a decision expected this term.

  Ex. A.

           6.    After AT&T filed that initial motion, Plaintiff filed an amended complaint on

  November 20, 2020. AT&T does not believe this amended complaint addresses the alleged

  defects outlined in its original motion and thus originally intended to re-file its motion to dismiss.

  Plaintiff contends that the amended complaint does address the defects alleged by AT&T.

           7.    As required by the Court’s standing order, AT&T emailed Plaintiff on November

  30, 2020 to discuss whether Plaintiff had any additional proposed amendment to resolve the

  issues raised in the Rule 12(b)(6) motion. While Plaintiff did not agree to withdraw the

  complaint or propose a further amendment, he did agree to stay the case pending the Supreme

  Court’s decision in Facebook. Plaintiff agrees that the Facebook decision may provide guidance

  to the parties and the Court on the substantive issue of whether the dialing system utilized by

  AT&T qualifies as an ATDS. 1


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   AT&T thus may file a motion regarding whether the complaint alleged the use of an ATDS
  upon either the denial of this request for the stay or in the event of a favorable decision in the
  Facebook case.


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         8.      A district court has discretionary power to stay proceedings as part of its inherent

  ability to control its own docket. Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). The party

  requesting the stay “bears the burden of establishing its need.” Clinton v. Jones, 520 U.S. 681,

  708 (1997). In this district, courts generally consider a variety of factors in assessing whether to

  grant a Landis stay, including: “(1) plaintiff’s interest in proceeding expeditiously, and the

  prejudice to plaintiff of a delay; (2) the burden on defendants; (3) the convenience of the court;

  (4) the interests of nonparties in resolution of the case; and (5) the public interest.” Hawg Tools

  LLC v. Newsco Int’l Energy Services, Inc., 2015 WL 1087051, at *1 (D. Colo. Mar. 9, 2015).

         9.      These factors counsel in favor of a stay here. Any prejudice to the parties as a

  result of a stay is small, in light of the short time frame before any expected Supreme Court

  decision (and as evidenced by Plaintiff’s agreement to this motion). In contrast, the burden on

  the parties should a stay not be granted would be significant. In the months before the Supreme

  Court rules, the parties will otherwise need to engage in costly class discovery and potentially

  even move for summary judgment under the current schedule.

         10.     The Court too would benefit from the stay. Should the Supreme Court adopt a

  different interpretation of the TCPA than the Court here, the Court would need to decide the

  same motion twice. That duplication of effort can be easily avoided by simply staying the case.

  And the parties’ agreement to stipulate to a stay also avoids the burden on the Court associated

  with deciding the Rule 12(b)(6) motion that would otherwise be filed at this time.

         11.     Finally, nothing indicates that there is any substantial interest of a non-party or the

  public that might justify denying a stay. To the contrary, courts have recognized that avoiding




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  unnecessary litigation and conflicts in legal rules benefits the public and weighs in favor of a

  stay. Hawg Tools, 2015 WL 1087051 at *2.

         12.     In light of the benefits of a stay to await clarification of the relevant law, and to

  avoid unnecessary motion practice, AT&T thus respectfully requests the Court enter an order

  staying the case until such time as the Supreme Court issues its opinion in the Facebook case.

  Should such a stay be granted, the parties further propose to provide a status report to the Court,

  no more than 14 days after such a decision issues that requests the stay be lifted and includes an

  updated case management plan, including a date for AT&T to file a responsive pleading or

  motion. Should the requested stay be denied by the Court, the parties agree that AT&T’s

  responsive pleading (including any Rule 12 motion) shall be due within 7 days of the Court’s

  order denying the stay.

  Dated: December 4, 2020                      MAYER BROWN LLP

                                                /s/ Kyle J. Steinmetz

                                               Kyle J Steinmetz
                                               MAYER BROWN LLP
                                               71 S. Wacker Drive
                                               Chicago IL 60606
                                               Telephone: (312) 701-8547
                                               Facsmilie: (312) 706-9178
                                               ksteinmetz@mayerbrown.com

                                               Douglas A. Smith, No. 52017
                                               MAYER BROWN LLP
                                               350 S. Grand Avenue, Suite 2500
                                               Los Angeles, California 90071-1503
                                               Telephone: (213) 229-5198
                                               Facsimile: (213) 625-0248
                                               dougsmith@mayerbrown.com

                                               Attorneys for Defendant AT&T Mobility
                                               Services, LLC


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                                  CERTIFICATE OF SERVICE

         I, Kyle J. Steinmetz, an attorney do hereby certify that I caused a copy of the foregoing to

  be served on counsel of record via the ECF system on December 4, 2020.

                                                      /s/ Kyle J. Steinmetz




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